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                    EXHIBIT G
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
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DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
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DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
         Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.359 Page 4 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
         Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.360 Page 5 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
         Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.361 Page 6 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
         Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.362 Page 7 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
         Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.363 Page 8 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
         Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.364 Page 9 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.365 Page 10 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.366 Page 11 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.367 Page 12 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.368 Page 13 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.369 Page 14 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.370 Page 15 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.371 Page 16 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.372 Page 17 of 25




                                                              Richard S. Welch
                                                             Authorized Signatory
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.373 Page 18 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.374 Page 19 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.375 Page 20 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.376 Page 21 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.377 Page 22 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.378 Page 23 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
        Case 3:22-cv-00260-BAS-MMP Document 21-7 Filed 03/07/23 PageID.379 Page 24 of 25
DocuSign Envelope ID: 6F107C15-C59E-4CC9-9F62-1AEC2D57B90E
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